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                                                                 Tel:   1-800-841-3000          Coverage Selections Page
                                                                                                          This is a description of your coverage.
                                                                                                              Please retain for your records.
                                GEICO GENERAL INSURANCE COMPANY
                                One GEICO Boulevard                                                        Policy Number: 4420-77-36-83
                                Fredericksburg, VA 22412-0003
                                                                                                           Coverage Period:
                                                                                                           01-03-19 through 01-03-20
                                                                                                           12:01 a.m. local time at the address of the named insured.
                                Date Issued: November 18, 2018



                                Item 1:
                                ANDREW DAVID GREENHUT
                                21 KINGSTON ST
                                SOMERVILLE MA 02144-2713




                                Email Address: agsax2002@gmail.com

                                Insured                                                      Additional Drivers
                                Andrew D Greenhut                                            None

                                Vehicles                          VIN                        Vehicle Location                  Finance Company/
                                                                                                                               Lienholder
                                1 2001 Linc           LS          1LNHM87A41Y705810         Somerville MA 02144
                                2 2015 Honda          Odyssey EX 5FNRL5H61FB010552          Somerville MA 02144                Rtn Fcu

                                Coverages*                                        Limits and/or Deductibles                 Vehicle 1                    Vehicle 2


                                Optional Bi To Others (Part 5)                      $100,000 Per Person/                       $209.00                                  -
                                                                                       $300,000 Per                                  -                                  -
                                                                                          Accident                                   -                                  -
                                Personal Injury Protection (Part 2)                  $8,000 Each Person                          $51.85                                 -
                                                                                       Non Deductible                                 -                                 -
                                Bi Caused By Uninsured Auto (Part 3)                $100,000 Per Person/                         $16.00                                 -
                                  (Compulsory Limits $20,000/$40,000)                  $300,000 Per                                   -                                 -
                                                                                          Accident                                    -                                 -
                                Damage To Another's Property (Part 4)                   $100,000 Per                           $188.00                                  -
                                 (Compulsory Limit $5,000)                                Accident                                   -                                  -
                                Collision (Part 7)                                   *Actual Cash Value                        $183.00                             -
                                                                                         $500 Ded.                                   -                             -
                                                                                     *Actual Cash Value                              -                       $104.00
                                                                                        $1,000 Ded.                                  -                             -
                                Comprehensive (Part 9)                               *Actual Cash Value                          $92.00                            -
                                                                                          $500 Ded                                    -                            -
                                                                                       Non Ded Glass                                  -                            -
                                                                                     *Actual Cash Value                               -                       $69.00
*200001442077368320032018534*




                                                                                         $1,000 Ded                                   -                            -
                                                                                       Non Ded Glass                                  -                            -
                                Rental Reimbursement/                               $30 A Day For A Max                          $32.00                                 -
                                 Substitute Transportation (Part 10)                     Of 30 Days                                   -                                 -

                                                                                                                                         Coverages Continued on Back
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Coverages*                                                       Limits and/or Deductibles                                Vehicle 1                      Vehicle 2


Bi Caused By Underinsured Auto(Part 12)                               $100,000 Per Person/                                     $27.00                                    -
                                                                         $300,000 Per                                               -                                    -
                                                                            Accident                                                -                                    -
Emergency Road Service                                                            Full                                         $15.00                                    -

Twelve Month Premium Per Vehicle                                                                                             $813.85                         $173.00

Total Twelve Month Premium                                                                                                                                   $986.85

Total Twelve Month Premium With Paid in Full Discount                                                                                                        $937.80

*Coverage applies where a premium or $0.00 is shown for a vehicle.

If you elect to pay your premium in installments, you may be subject to an additional fee for each installment. The fee
amount will be shown on your billing statements and is subject to change.



Discounts

The total value of your discounts is                                                                                                                      $334.35
  Multi-Car (All Vehicles) ....................................................................................................................................$161.25
  Anti-Theft Device (All Vehicles) .........................................................................................................................$17.00
  Excellent Driver Plus (All Vehicles)..................................................................................................................$156.10



Contract Type: FAMILY
Contract Amendments: ALL VEHICLES - A30MA(11-14) A54MAC(02-18) A54MAPVS(07-15) A54MARS(08-16)

Unit Endorsements:                 UE316D (05-09)(VEH 2)


Countersigned by Authorized Representative




                                                         Important Policy Information
-Please review the front and/or back of this page for your coverage and discount information.

-Active Duty, Guard, Reserve or Retired Military: Call 1-800-MILITARY to see if you qualify for the Military Discount.

-Reminder - Physical damage coverage will not cover loss for custom options on an owned automobile, including
equipment, furnishings or finishings including paint, if the existence of those options has not been previously reported to
us. This reminder does NOT apply in VIRGINIA, however, in Virginia coverage is limited for custom furnishings or
equipment on pick-up trucks and vans but you may purchase coverage for this equipment. Please call us at
1-800-841-3000 or visit us at geico.com if you have any questions.

-If you choose to pay your premium in full by the effective date of your policy, your vehicle premiums will be the Paid in
Full Premium listed.




                                                                                                                                              Continued on Next Page
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                                                                           Important Policy Information
                                -Claims incurred while an insured vehicle is being used to carry passengers for hire may not be covered by this
                                contract. Please review the contract for a full list of exclusions and contact us if you plan to use any of your insured
                                vehicles for this purpose.

                                -Check carefully that all operators of your auto(s) are shown. Your failure to list a household member or any individual
                                who customarily operates your auto may have serious consequences.

                                -You must notify us of changes that have occurred prior to the renewal of this policy and during the policy period. It is a
                                crime to knowingly provide false or fraudulent information for the purpose of defrauding an insurance company. If you
                                or someone else on your behalf has knowingly given us false, deceptive, misleading, or incomplete information and if
                                such false, deceptive, misleading or incomplete information increases our risk of loss, we may refuse to pay claims
                                under any and all of the Optional Insurance Parts and we may cancel your policy. Such information includes the
                                description and the place of garaging of the vehicle(s) to be insured, the names of all household members and
                                customary operators required to be listed and the answers given for all listed operators. We may also limit our
                                payments under Part 3 and Part 4. Check to make certain that you have correctly listed all operators and checked the
                                completeness of their previous driving records. We will not pay for a collision or limited collision loss for an accident
                                which occurs while your auto is being operated by a household member who is not listed as an operator on your policy.
                                Payment is withheld when the household member, if listed, would require payment of additional premium on your policy
                                because the household member would be classified as an inexperienced operator or would require payment of
                                additional premium on your policy under the merit rating plan.

                                -Confirmation of coverage has been sent to your lienholder and/or additional insured.
*200001442077368320032018535*




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